Case 2:20-cv-11718-GAD-DRG ECF No. 44-3, PagelD.1111 Filed 01/31/22 Pagp.. at
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WAYNE STATE

UNIVERSITY

Office of the Provost
Academic Proagranis
Institutional Effectivemtss

May 23, 2019

Anthony Eid
Sent electronically to eh2083@wayne.edu

PERSONAL AND CONFIDENTIAL

Regarding Case Number: 2018151501

Good Afternoon Mr. Eid,

Attached is Dr, Ellis' response to your appeal.

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Marlena Frontera
Assistant to R. Darin Ellis, Associate Provost, Academic Programs
and Institutional Effectiveness

CC: Richard Baker, M.D., Vice Dean of Medical Education, School of Medicine

 

Office of the Provost
Office of Academic Programs and Institutional Effectiveness
656 W. Kirby St., 4228 Faculty/Admin. Building e Detroit, MI e Tel: (313) 577-2200 assocprovost@wayne.edu

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May 23, 2019

Anthony Eid
1247 Selden St, Detroit MI 48201

PERSONAL AND CONFIDENTIAL

Regarding Case Number: 2018151501

Banner ID: 004087570
Dear Anthony Eid,
This is in response to your appeal, dated May 13, 2019.

As Associate Provost for Academic Programs, it is my responsibility to handle all appeals in the Office of the
Provost. In reviewing appeals at this level, the key question | address is whether the reviews completed at the levels
of the department and/or college were thorough, fully considered, and fair. My review is based solely upon the
following: the policies and procedures relevant to the subject of the appeal/inquiry, and the procedures and
regulations for appeals to the Office of the Provost.

I have reviewed your claims you made in your email to the Provost, reviewed materials you provided along with
information from the School of Medicine Professionalism and Promotions Committees, including handbooks and
letters dated Feb 11, Feb 27, and April 10, 2019, and other communications that were provided by the School of
Medicine to you. This review has been undertaken with respect to the School of Medicine’s standards and
procedures for Professionalism and Promotions, under which you were dismissed on February 27, 2019.

With regard to specific claims you have made that you were not given due process:

(1) You were summoned to a fact-finding conference based upon a complaint filed against you by
for alleged violations of the student code of conduct. This fact-finding conference was done pursuant to section
11.1 of the Student Code of Conduct (SCOC) in order to determine whether further proceedings were
appropriate. You claim this conference was improper because you were not provided with all of the
information stipulated in section 11.2 of the SCOC, The intent of section 11,2 is to provide the charged party
with notice and an opportunity to be heard. Since it is clear from the record below that when the student conduct
officer met with you on November 30, 2018, she provided you with all of the relevant information required by
section 11,2 and then gave until December 4, 2018, to provide a response to the charge and any evidence that
you felt supported your defense of the charges, your claim has no merit. You claim that due process was
violated because your case was not handled by the Dean of Students, including the option of a hearing panel.
This claim has no merit because it is entirely within the discretion of the conduct officer to initiate disciplinary
proceedings under the SCOC or, in instances involving academic misconduct, to refer the matter to the Dean of
the college in which the student is enrolled, as provided in section 11.5(b) of the SCOC. In your case, the
conduct officer determined that this matter involved professionalism issues, which are part of the academic
program of the School of Medicine, and referred the matter to the Dean of the School of Medicine. Once the
matter was referred back to the SOM, the matter was given to the Professionalism Committee since your case
involved professionalism issues. Thus, there was no due process violation.

(2) You claim that the Professionalism Committee meeting was improper because 2 of the 4 student members were
missing. The procedures of the Professionalism Committee stipulate that faculty members must comprise the
majority of the quorum, and that students serve in an advisory role only. That is, they are not required for the
meeting. Therefore, I do not find that this was a violation of procedure or due process.

 

R. Darin Ellis, Ph.D.
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Associate Vice President for Institutional Effectiveness
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(3) You claim that the process specified in the WSUSOM'’s ‘Professionalism Committee’ handbook was not
followed and the decisions were arbitrary and capricious. | have reviewed the handbook and documentation of
the process from the SOM and I do not see any evidence to support your claim. Following the handbook
flowchart (Section 5.0, page 8-9 of 12):

a. Dec 4, Potential “Unprofessionalism reported” by Nikolina Camaj to Assistant Dean Dr. Margit
Chadwell

b. Chadwell conducted preliminary Fact-Finding by Assistant Dean (note — no requirement for
SCOC procedures here)

c. After review, Chadwell took the next step: Assistant Dean Files Charges with Chair of
Professionalism Comumnittee.

d. Jan 25, Fact-Finding by Chair of the Professionalism Committee including meeting in person
between you and Dr, Matt Jackson. You were Found in Violation of professionalism standards
and the chair convened a formal hearing (foregoing a recommendation for remediation). You were
given an opportunity to review the documents that were to be forwarded to the committee, to
provide a statement and any counter evidence, and the procedure for the upcoming hearing was
discussed with you.

e. Feb 7,A Formal Hearing with Professionalism Committee was conducted according to
established procedures. The committee chose the path of Remediation Rejected.

f. Feb 11, You were informed by Jackson of the outcome of the meeting. It was found that you
“demonstrated a pattern of harassment and misrepresentation” that was a violation of
professionalism standards. Your case was forwarded to Promotions Committee with a
recommendation for dismissal action per Section 3 of the Handbook: “The Professionalism
Committee may use any and all disciplinary sanctions but cannot dismiss students from the
medical school. The committee adjudicates professional breaches through appropriate means
including referral to the Promotions Committee who may dismiss medical students.”

(4) You claim that during the Promotions Committee meeting on Feb, 27, you did not have access to the notes
on deliberations of the professionalism committee forwarded to the promotions committee: the
Professionalism committee is a subcommittee of Promotions, and as such, its deliberations involve
academic judgment and are confidential (See Section 5.2 Promotions Committee Handbook), However, Dr.
Margit Chadwell, Associate Dean for Student Affairs and Loretta Robichaud, your advisor, met with you
on February 13, 2019 to discuss with you the procedures for the Promotions Committee hearing and your
preparation for that hearing so that you were fully informed of the process. You further claim that you were
not allowed to present character evidence in the form of E-Value peer reviews. The meeting procedures
allow the committee to consider any aspect of'a student’s record that they deem relevant, thus, it was not
necessary for you to present these ratings as they already had access to them.

(5) On the matter of not being properly informed of the dismissal outcome: besides being informed by Dr.
Margit Chadwell and Loretta Robichaud, immediately after the hearing of the Promotions Committee's
decision, a letter was delivered to your official Wayne State email from Dr. Baker on February 27
indicating your dismissal and your “option to voluntarily withdraw from the School of Medicine or to
appeal this decision.” Before making a decision in that regard, you requested and Dr. Baker granted your
request to meet with him to discuss your options. That meeting occurred on March 6, 2019, during which
Dr, Baker reiterated the SOM policy of voluntarily withdrawing or appealing. Dr. Baker also granted you
an extension of time to consider your options. You chose to appeal. On April 10, Dr. Baker informed you
on behalf of the Promotions Committee that your written appeal had been considered and was denied. A
read-receipt indicates that you accessed this notification on April 15.

[ have found that evidence was appropriately considered and that you were afforded the fullest extent of due process
procedures. | could find no evidence that the evaluation of your case was based on criteria not directly reflective of
your professionalism relative to the school’s requirements. In fact, all evidence points to the fact that the decision to
dismiss you was based solely upon the collective academic decision making of the Promotions Committee.

 

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Thus, your dismissal from the School of Medicine stands, and | deny your appeal. This letter constitutes the final
step in your appeal process.

I wish you well in your future endeavors.
Sincerely,

R. Darin Ellis, Ph.D.
Associate Provost for Academic Programs
and Associate Vice President for Institutional Effectiveness

 

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